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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                for the
                                                       District of South Carolina


        PRECISION FABRICS GROUP, INC.
                                                                   )
                            Plaintiff
                                                                   )
                                                                                                7:17cv3037-TDS, 7:17cv3038-
                               v.                                  )       Civil Action No.
                                                                                                TDS
                                                                   )
          TIETEX INTERNATIONAL, LTD.
                           Defendant
                                                                   )

                                                  JUDGMENT IN A CIVIL ACTION


This action was:
 O tried by a jury, the Honorable          Thomas D. Schroeder                  presiding, and the jury has rendered a verdict in
favor of Defendant.




Date: March 9, 2018                                                       CLERK OF COURT


                                                                                    s/ Nora Chandler, Deputy Clerk
                                                                                     Signature of Clerk or Deputy Clerk
